       Case 2:17-cr-00713-JJT Document 81 Filed 01/12/18 Page 1 of 3



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10
                         IN THE UNITED STATES DISTRICT COURT
11
                               FOR THE DISTRICT OF ARIZONA
12
13
     United States of America,                            CR-17-00713-PHX-JJT (JZB)
14
                       Plaintiff,                     STIPULATION TO ENTRY OF
15                                                  AMENDED PROTECTIVE ORDER
              vs.                                  RE: CONFIDENTIAL INFORMATION
16                                                            [Doc. 56]
     Gary Leonard Pierce, et al.,
17
                       Defendants.
18
19         On August 2, 2017, the Court entered a Protective Order Re: Confidential
20   Information. (Doc. 56). The parties have stipulated to two amendments of that Order and
21   respectfully move that the Court enter the Amended Protective Order.
22
           The two stipulated changes are:
23
           ● Amendment of numbered paragraph 1 and the definition of “Confidential
24
     Material” by adding “and (C) the following additional material provided by the United
25
     States to the defendants: (i) documents identified as Government Case Discovery
26
     Spreadsheet Folder 5, Item 120-Third Party Corporation #1 – FBI Items 1(c)34, 35, 39, 41,
27
     42, 44, 50, 61, 71 & 76 which contains 1,775 documents in .pdf format and 18 Items
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       Case 2:17-cr-00713-JJT Document 81 Filed 01/12/18 Page 2 of 3




 1   .xls/.xlsx format, and (ii) documents identified as Discovery Spreadsheet Folder 5, Item
 2   117-Warranty Service #1 – FBI Item 1C(74) which contains 972 Items in .msg format.”
 3          ● Amendment of numbered paragraph 5 by adding “however, all pleadings that
 4   reference or attach any document contained within the United States’ disclosure that is
 5   described in paragraph 1(C)(i) and (ii) above, shall be filed under seal.”
 6          Respectfully submitted this 11th day of January, 2018.
 7
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 8                                             First Assistant United States Attorney
                                               District of Arizona
 9
                                                /s/ Frank T. Galati
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                                               By: /s/ Ashley D. Adams (w/permission)
27                                             ASHLEY D. ADAMS
                                               Attorneys for Defendant Sherry A. Pierce
28

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       Case 2:17-cr-00713-JJT Document 81 Filed 01/12/18 Page 3 of 3




 1                                     Certificate of Service
 2          I hereby certify that on January 11, 2018, I caused the attached document to be
 3   electronically transmitted to the Clerk’s Office using the ECF system for filing and
 4   transmittal of a Notice of Electronic Filing to the following ECF registrants:
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16   s/ Gaynell Smith
     U.S. Attorney’s Office
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